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                             Exhibit 6
                  Declaration of Eden Shemuelian
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                                                                               Shemuelian, Eden <                                        >



  Standing Against Bigotry at the University of California
  Chancellor Gene D. Block <                            >                                Fri, Nov 10, 2023 at 2:16 PM
  Reply-To: Office of the Chancellor <reply-fe8b15777260037577-13064_HTML-316055909-518003089-8007@bp.e.ucla.edu>
  To:




                      Dear Bruin Community:


                      Periods of conflict in the Middle East have time and again been linked to a global rise in
                      reprehensible acts of Antisemitism, Islamophobia and anti-Arab hate. I am extremely
                      disheartened to say that this has proven true once again, and the UCLA campus has by
                      no means been spared.


                      Today, I joined University of California President Michael V. Drake and the UC chancellors
                      in issuing a forceful condemnation of incidents of bigotry, intolerance and intimidation that
                      have taken place on UC campuses — including UCLA — over the past several weeks. We
                      must be crystal clear: discrimination, threats, violence and hate have absolutely no place
                      in a university community dedicated to open-mindedness, respect and mutual
                      understanding. Our full message appears below.


                      More than denounce bigotry, though, we must also actively work against it. President
                      Drake will be sharing a series of systemwide initiatives in the coming weeks to address
                      the current university climate, and my administration will be launching its own set of efforts
                      to strengthen community and reaffirm our values in this period of intense strife.


                      I recognize that this work is urgently needed. At an event just this week on our campus,
                      individuals exhibited extremely hateful behavior and used despicable Antisemitic
                      language, which was captured on video and shared widely, frightening many within our
                      community. While this may be protected speech under the First Amendment, it is
                      nonetheless abhorrent and completely unacceptable. Campus officials are reviewing the
                      actions at the event and anyone found to be in violation of the law or the UCLA code of
                      conduct will be held accountable.


                      In our diverse university community, even if we disagree with someone passionately, we
                      cannot devolve into dehumanizing them with rhetoric, treating them with prejudice or
                                         SHEMUELIAN DECLARATION EXHIBIT 6
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                      jeopardizing their safety. We must find the best in ourselves and in one another. Let us
                      work towards better days ahead.


                      Sincerely,


                      Gene D. Block
                      Chancellor




                      University of California President Michael V. Drake, M.D., and the 10 University of
                      California Chancellors sent the following message today (Friday, Nov. 10, 2023) to
                      members of the UC community:


                      To the University of California community,


                      We write today to condemn the alarming, profoundly disappointing acts of bigotry,
                      intolerance, and intimidation we have seen on our campuses over these past several
                      weeks. It is our shared responsibility to maintain a sense of community where everyone
                      feels safe and welcome.


                      Some of the rhetoric we have seen and heard over the past month at campus protests,
                      online, in student government meetings, and in classrooms has been shocking and
                      abhorrent. Let us be clear: There is no place for hate, bigotry, or intimidation at the
                      University of California. Period.


                      Antisemitism is antithetical to our values and our campus codes of conduct and is
                      unacceptable under our principles of community. It will not be tolerated.


                      Similarly, Islamophobia is unacceptable and will not be tolerated. We will work to ensure
                      that those who advocate on behalf of Palestinians can also be confident of their physical
                      safety on our campuses.


                      It is our collective responsibility to foster a safe and welcoming learning, living, and
                      working environment while also promoting the principles of free expression and academic
                      freedom. We take our obligation to uphold the First Amendment seriously, even when the
                      viewpoints expressed are hateful or repugnant. We cannot censor voices or ban groups
                      we disagree with, so long as those voices and groups comply with state and federal laws
                      and with university policy.


                      But free speech is not absolute, and violations of policy or law will have consequences.
                      Regents Policy 4403: Statement of Principles Against Intolerance calls on UC leaders
                      “actively to challenge anti-Semitism and other forms of discrimination when and whenever
                      they emerge within the University community.” We will uphold this policy. Our campuses
                      have and will continue to impose consequences on behavior that crosses the line into
                      unprotected speech, such as persistent harassment of individuals or groups, or credible
                      threats of physical violence. We will also take steps against any violations of the law or
                      university policy such as disruptions of university activity, violence, or vandalism. Our
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                      educators must continue to provide a supportive and welcoming environment for all
                      students and avoid using classroom time for improper political indoctrination.


                      And while words matter a great deal — and we stand firmly by the words we share today
                      — this is also a time for action. Over the coming days, President Drake will announce a
                      series of initiatives to help us address the current climate on our campuses, provide
                      additional support for our students, staff, and faculty, and improve the public discourse on
                      this issue.


                      Members of the UC community may have differing opinions on the Middle East conflict,
                      but our stand on intolerance and intimidation in our own community is unequivocal: We
                      will not stand for it, and we will do everything in our power to ensure that the University of
                      California is a safe community for all.


                      Michael V. Drake, M.D.
                      President, University of California


                      Gene D. Block
                      Chancellor


                      Carol Christ
                      Chancellor, UC Berkeley


                      Howard Gillman
                      Chancellor, UC Irvine


                      Sam Hawgood
                      Chancellor, UCSF


                      Pradeep Khosla
                      Chancellor, UC San Diego


                      Cynthia Larive
                      Chancellor, UC Santa Cruz


                      Gary May
                      Chancellor, UC Davis


                      Juan Sánchez Muñoz
                      Chancellor, UC Merced


                      Kim Wilcox
                      Chancellor, UC Riverside


                      Henry Yang


                                         SHEMUELIAN DECLARATION EXHIBIT 6
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                      Chancellor, UC Santa Barbara




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